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 2   Nevada State Bar No. 11479
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 3   Assistant Federal Public Defender
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 6   Andrew_Wong@fd.org

 7   Attorney for Robert Anthony Urioste

 8
                                UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:18-mj-0417-BNW

12                 Plaintiff,                                STIPULATION TO CONTINUE
                                                              STATUS CHECK HEARING
13          v.
                                                                   (Second Request)
14   ROBERT ANTHONY URIOSTE,

15                 Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, Special United States Attorney, and Rachel Kent, Special Assistant United States
19   Attorney, counsel for the United States of America, and Rene L. Valladares, Federal Public
20   Defender, and Andrew Wong, Assistant Federal Public Defender, counsel for Robert Anthony
21   Urioste, that the Status Check Hearing currently scheduled on October 22, 2020 at 1:30 p.m.,
22   be vacated and continued to a date and time convenient to the Court, but no sooner than thirty
23   (30) days.
24
25          This Stipulation is entered into for the following reasons:
26
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 1          1.     Defense counsel requests additional time to get in contact with defendant and to
 2   allow defendant to complete all court ordered conditions.
 3          2.     The defendant is not in custody.
 4          3.     The parties agree to the continuance.
 5          This is the second stipulated request for a continuance of the status check hearing.
 6          DATED this 19th day of October, 2020.
 7
 8    RENE L. VALLADARES                              NICHOLAS A. TRUTANICH
      Federal Public Defender                         United States Attorney
 9
10    By /s/ Andrew Wong                              By /s/ Rachel Kent
      ANDREW WONG                                     RACHEL KENT
11    Assistant Federal Public Defender               Special Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:18-mj-0417-BNW
 4
                   Plaintiff,                          ORDER
 5
            v.
 6
     ROBERT ANTHONY URIOSTE,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the status check hearing currently scheduled for

11                                                                        11/25/2020 at 9:00at
     Thursday, October 22, 2020, at 1:30 p.m. be vacated and continued to ________________

12   the hour of ___:___ __.m..
     AM.
13                October
            DATED this      20,of2020.
                       ___ day    October, 2020.

14
15
                                               UNITED STATES MAGISTRATE JUDGE
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